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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO


WESTERN WATERSHEDS PROJECT,        No. 1:17-cv-206-BLW
WILDEARTH GUARDIANS, CENTER FOR
BIOLOGICAL DIVERSITY, and PREDATOR
DEFENSE,

                     Plaintiffs,             STIPULATION RE: SCHEDULING ON
                                             PLAINTIFFS’ MOTION FOR REMEDIES
                v.

USDA APHIS WILDLIFE SERVICES,

                     Defendant,

          -­‐-­‐-­‐	  
          	  
IDAHO WOOL GROWERS’
ASSOCIATION,

                     Defendant-Intervenor.




                                       STIPULATION—1
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       Pursuant to the Court’s Order granting Plaintiffs’ Motion for Summary Judgment and

denying Defendant’s Cross-Motion for Summary Judgment, ECF No. 33, and the Joint Litigation

Plan in this matter, ECF No. 14, and based on their discussions among themselves and with the

Court, the Parties by and through their undersigned counsel agree to proceed with scheduling on

Plaintiffs’ anticipated Motion for Remedies as follows:

       1.       The Parties will negotiate and attempt to settle remedies for one month,

concluding on or around August 17, 2018. If, after one month, it appears an agreed-upon

resolution is unlikely, Plaintiffs will proceed to file their Motion for Remedies, and the Parties

will brief remedies according to the schedule that follows.

       2.       Plaintiffs’ Motion for Remedies will be filed on August 31, 2018.

       3.       Defendant’s and Defendant-Intervenor’s Responses to the Motion for Remedies

will be filed on October 5, 2018.

       4.       Plaintiffs’ Reply on the Motion for Remedies will be filed on October 19, 2018.

       5.       Plaintiffs request that the Court set a hearing on the Motion for Remedies in late

October or early November, such that the Court can rule on the Motion for Remedies before

December 1, 2018.

       6.       The Parties have discussed the fact that counsel for Federal Defendants will be

taking maternity leave and replacement counsel may need to seek a short extension of time for

Defendants’ Response on the Motion for Remedies; and if that happens, the Parties will confer

and attempt to agree to a revised briefing schedule.

       7.       All briefs will follow the Local Rules with respect to page limits.

       IT IS SO STIPULATED.

Dated: July 18, 2018                          Respectfully submitted,




                                        STIPULATION—2
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                                           s/ Talasi B. Brooks
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                                           By:

                                            s/ Christine G. England _____________________
                                           CHRISTINE G. ENGLAND
                                           Assistant United States Attorney

                                           Attorneys for Federal Defendant

                                           HOLLAND & HART LLC
                                           By:

                                           s/ William G. Myers III_____________________
                                           William G. Myers III on behalf of the firm

                                           Attorneys for Defendant-Intervenor Idaho Wool
                                           Growers Assn.




                               CERTIFICATE OF SERVICE


I HEREBY CERTIFY that on the 19th day of July, 2018, I filed the foregoing electronically
through the CM/ECF system, which caused the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

Christine G. England
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Attorney for Defendant

William G. Myers III



                                     STIPULATION—3
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                                        s/Talasi B. Brooks
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                                    STIPULATION—4
